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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
                             Plaintiff,          )
                                                 )
                        v.                       )     No. 1:19-cr-00229-RLY-DML
                                                 )
 MAHDE DANNON,                                   ) -01
 MOYAD DANNON,                                   ) -02
                                                 )
                             Defendants.         )



              ENTRY ON TELEPHONIC HEARING OF JUNE 17, 2020

            BEFORE THE HONORABLE RICHARD L. YOUNG, JUDGE

        Parties appear telephonically, United States by Matthew Rinka and Paul Casey;

 defendants by Bill Dazey and Mario Garcia, for a status conference set this date.

        A telephonic status conference is now set for SEPTEMBER 14, 2020 at 3:00

 p.m. (Eastern). The information needed to participate in this telephonic conference will

 be provided by a separate notification.




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